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Honorable Rebecca Rutherford JUN 40 2020 3701 Marilyn Ln
United States Magistrate Judge Virginia Beach, Va.
100Commerce Street ben | 23452
Dallas, TX 75242 CLERK, U.S. DISTRICT COURT 972-207-9379

By 09Jun2020

 

Cpu

 

Re: United State v. Philip Archiba

Dear Magistrate Judge Rutherford:

My name is Seth Archibald. | am one of Philip’s younger brothers. | was 10 years old when Philip
left to attend college. Though | was young when he left, Philip had a big impact on my life, both as a
brother and as a mentor.

Philip has always been a person | would consider to be intelligent. It is an impression | formed
as an elementary student studying at home (My siblings, including Philip, and | were homeschooled).
Because my mom was responsible for teaching 8 children, all differing in age and knowledge, she relied
on Philip as a sort of teacher’s aide. Your Honor, Philip helped me conduct science experiments and re-
enact famous scenes in history. An example that comes to mind is when my mother tasked me with the
goal of recreating the solar system. Philip read the chapter and further explained the content we had
just gone over. He then took me outside and we attempted to recreate the solar system using rocks
from our gravel driveway. Another example that comes to mind was when my homeschool group
decided to re-enact a scene from King Arthur. It was planned to be a big dinner, and it was Philip who
suggested to my mom that | play the role of King Arthur, the guest of honor. However, who Philip is also
had an impact on who | am as a person attempting to find success in my own life.

Philip was my first boss and gave me the opportunity to put into practice the work ethic that my
Dad demonstrated to us all. When | was 5, Philip was responsible for manicuring my Grandmother’s,
later my Uncle’s, rental apartments. These responsibilities included mowing the grass every other week
and sweeping the buildings once a month. Philip tasked my brother and me with sweeping the
apartments and picking up trash. This job earned me about $15- $25 a month. When Philip went to
college, he served for a brief time in the Corps of Cadets at Texas A&M. Though his time in the corps was
brief, he shared with me something that has stuck with me for the past eleven years. When asking Philip
if | should join the corps he asked if | liked “playing Army.” My response was, “Yes, | Jove it.” He said that
since it was something | loved to do, then it was something | should do. Looking back, it sounds like a
cliché statement. However, when the time came for me to choose to join the military or go to college,
that conversation kept replaying in my mind. | loved “playing military’, so | decided to join the Navy. |
am now able to look back and am grateful for my brother and those words he shared with me.

Your Honor, my brother Philip has been a teacher and a mentor to me growing up. He has
helped me find success in academics, teaching me to find awe in what | learn by helping me experience
it firsthand. Whether that be by building a solar system or allowing me to be king for the day. Philip gave
the opportunity to hone my work ethic and gave me the opportunity to invest in my future. As my boss,
he taught me that | have a personal responsibility to do a good job for the people | work for. He
explained to me that if | love something, | have an obligation to follow through with it. As a child, |
played Legos with Philip for hours. Instead of watching television, we would sit on our wood floor and
create endless scenarios.

 
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The fact that my oldest brother took this time to hang out with me meant a lot. He is still this
way. Last Fall, after | graduated from training in California, Philio was the one who offered to drive with
me back home to Texas. He was always open to talk while | was driving and was ready to drive when |
got tired. Your honor, Webster’s dictionary defines friend as “one attached to another by affection or
esteem.” Your Honor, Philip is not only my brother and mentor; Philip is my friend, something | take
great pride in.

Very Respectfully,
/s/Seth Archibald
 

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Honorable Rebecca Rutherford P. O. Box 206
United States Magistrate Judge Lancaster, TX 75146
1100 Commerce St. 972-207-9697
Dallas, TX 75242 June 9, 2020

Re: United States v. Philip Archibald
Dear Magistrate Judge Rutherford:

My name is Priscilla Archibald. I am Philip’s mother. Twenty-nine years ago, he introduced me
motherhood. From the earliest days, I have loved and relied upon Philip. That sounds strange, for I was
the nurturer, but even as a very young child, Philip gave me much companionship as we explored our
environment together and as we read books for hours together. He easily engaged in conversation with
adults, perhaps, in part, because my husband was a rural pastor at the time, and Philip would accompany
him on visits. Perhaps those early years helped mold him as one who wants to help people. As he grew
older, and I had more children, Philip was always a willing and obedient helper. He never complained to
me, and he helped the younger children accept responsibilities for their chores. He bore a lot of my
burdens, especially when I needed an extra eye or an extra hand. He has always been willing to help. We
always have had wonderful conversation together, and I looked forward to rides in the car with him as we
talked about the Bible or life in general or dreams.

I understand that Philip has come into this trouble, though I can’t speak for the why’s or how’s of
what has happened. I know my husband and I are willing to do anything to help Philip get past this. He
would do the same for us, and, I believe, he intends to help look after us as we age.

When Philip moved back to our area a little over a year ago, I felt a lot of relief. Two of our sons
were away in the military, and one was still in school, so I looked forward to Philip’s Sunday afternoon
visits and a drop-in during the week. I think, in some ways, he expected a lot of children running around
as it had been when he left for college. He had missed his family while away. Sometimes he would call to
see if the younger girls wanted to hang-out or go to a movie. Other times, he would see if his brother
wanted to mow or the girls wanted to clean his house. He enjoyed letting his siblings earn some money
and find satisfaction in their work. The kids have appreciated his attending their plays and games. My
husband, particularly, has enjoyed Philip’s friendship, as they engage easily in conversation with one
another.

Traits I had observed in Philip’s childhood have remained consistent into his adult years. Philip
is very protective of people, especially in his family. He courageously and wisely intervened in a
relationship which may have ended badly for his sister. He gave his sisters dogs to help protect them.
When the coronavirus hit, he brought us lots of fresh fruits and meat, because he understood how to build
the immune system.

There are several instances in which Philip’s quick intervention saved people’s lives. In high
school, Philip had a job as a lifeguard, and that came in handy when he was in college. One Mother’s
Day we met him for a picnic. As we sat at the table talking, with Philip facing the lake, I observed him
jump off the table, run toward the lake and shed everything off his person but his shorts. He dove into the
water and rescued a young boy who found himself unable to reach the floaty and unable to swim. The
mother was engaged in conversation, but Philip had been keeping a watchful eye and saved him from
drowning. Another time he saved a life was when he was around 14. His brother Benjamin had a staph
infection and was having a terrible fever and other symptoms. Philip demanded that I call the doctor,
even though it was very late. It was just the motivation I needed. The doctor insisted we take Benjamin to
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Honorable Rebecca Rutherford P.O. Box 206

United States Magistrate Judge Lancaster, TX 75146
1100 Commerce St. 972-207-9697
Dallas, TX 75242 June 10, 2020

Re: United States v. Philip Archibald
Dear Magistrate Judge Rutherford:
My name is Suzanna Archibald. I am one of Philip Archibald’s youngest sisters.

As a young teenager, it is hard for me to get a job and earn money. However, Philip always has
jobs for me to do. Because of the work he has given me, I am able to earn money without the trouble of
driving too far away. Alongside the jobs he has given me, Philip has taught me how to save the money I
earn. He taught me to start with small goals, so I can achieve the big ones. Philip is probably one of the
most generous people I know, not just with money, but with time as well. He is also a very thoughtful
person.

When I was looking for a way to earn money, Philip heard and promptly offered me a job.
Though I am no longer doing that job, Philip provided me with other work that will not take up a lot of
the time I need to spend with homework, family, or life. I am payed a respectable amount for what he has
me doing, whether cleaning the house or other job he needs done. Philip has never told me to go and
spend the money I earn on just anything, but, rather, he encourages me to save it for something
meaningful, something that will help achieve my goals.

My biggest goal in life is to travel the world. Of course, one needs money and know how to save
it to travel the world. Thankfully, God blessed me with Philip who knows how to save money, and who
has the endurance to achieve goals. Starting with just a little bit of money, Philip managed to build a
business on his own. Just by watching him and listening to some of the stories about his journey to
success, I have managed to save several hundred dollars in just a few months. Philip’s guidance in saving
money has put me on the path to attaining my dream.

Philip is a very busy person, but he ALWAYS makes time for his family. Every Sunday after
church, he will come by for lunch and hang out the rest of the day. He invites us over for dinner and a
movie. He helped my parents through the coronavirus crises when he, himself, was not able to work as
much. His consideration for the wellbeing of those around him, even if they are strangers is truly
influential. Seeing how many people he has helped build up confidence in creates an urge in me to do the
same.

Philip motivates me to be the best I can be. He plays a huge part in my life. His willingness to
help those in need is encouraging. Anything he does is for the welfare of those in or outside his family.
Anyone who knows Philip is an extremely fortunate person, because if one ever needs help, or just a
person to talk to, Philip will always be there.

Respectfully,

/s/Suzanna Archibald

 
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Honorable Rebecca Rutherford P.O. Box 206 Lancaster, TX 75146
United States Magistrate Judge (972)-225-1037
1100 Commerce Street 6/10/20

Dallas, TX 75242

RE: United States vs. Philip Archibald

Dear Magistrate Judge Rutherford:

Philip Archibald is my oldest brother. | have known Philip my entire life of nineteen
years. | have always loved and respected Philip, but it wasn’t until last year, when he moved
back to Dallas, that | started to consider Philip a friend.

| understand that the charges Philip is facing are very serious. | cannot help Philip with
any kind of materialistic needs he may have.

Philip has always been a very outgoing person, if he sees something wrong, he decides
to fix it. Philip is very passionate, loving, caring, selfless, courageous, loyal, persistent, kind,
sincere, and has very good self-control. Recently, Philip has seen a lot of people suffer
financially, specifically his neighbors. Philip was mowing his yard and he noticed that his
neighbors did not have enough money to buy gas for their mower, Philip decided that he would
solve their problem and mow their lawn at no cost. Philip is not a harm to society; he desires to
help those who cannot help themselves, taking him out of society would hurt society. .

Respectfully,
/s/ David Archibald
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Honorable Rebecca Rutherford P.O. Box 220 Pearsall, TX 78061
United States Magistrate Judge (214) 695-5311
1100 Commerce Street June 9th, 2020

Dallas, TX 75242
Re: United States v. Philip Archibald
Dear Magistrate Judge Rutherford:

My name is Anna Stanton, and Philip is my oldest brother. Philip is a natural born leader
who puts the needs of others above his own. He encourages, challenges, strengthens, and pushes
people to reach their full potential. As a gifted motivational speaker, writer, and trainer, he
compels people to use their time and resources wisely and to not be wasteful.

Growing up with Philip was an adventure with many teachable moments. Many of the
memories we share held valuable life lessons that would carry through time. For instance, at a
young age, Philip was praised by a grocery store manager for ridding the store of a pesky hornet.
Although the deed was small, he was considering the well-being of the shoppers and other
children, such as his own siblings. Another example is Philip’s testimony to the value of
friendship through playtime. Whether it was playing with legos or my model horses, his toy
characters exemplified steadfastness and thoughtfulness.

Philip has been a dependable brother since a young age. Almost two years older than me,
I looked up to him for leadership. He set an example to me on obeying our parents and
performing our responsibilities as he was obedient, responsible and prompt. His school work
reflected diligence, critical thinking, and enthusiasm to learn. Philip was an outstanding student,
but his strength was his ability to self-learn and hurdle obstacles. His determination and hard
work revealed the heart and soul he put into achieving his goals.

Despite his business mind that drove him to success, Philip remembered his family and
invested in them. He visited for holidays, birthdays, and random weekends creating more fond
memories. He has a solid and faithful family to call his own with consistent interaction whether
through personal visits or phone calls. The plethora of golden memories from our childhood
have stood the test of time and frequent our conversations.

Respectfully Yours,

Anna Stanton
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Honorable Rebecca Rutherford P.O. Box 206

United States Magistrate Judge Lancaster, TX 75146
1100 Commerce Street 469-387-5522
Dallas, TX 75242 June 9, 2020

Re: United States v. Philip Archibald
Dear Magistrate Judge Rutherford:

Philip Russell Archibald is my first-born son of eight children. This fall he will turn 30
years old. I love and respect Philip for the son he has been to me, for his work ethic and
leadership skills with his business, and for the relationships he has with his brothers, and his
family.

He has been a mentor to his two brothers who have been and now are in the U.S. military.
He has been a saint and friend to his sisters, and he has given his youngest two sisters each a dog
for friendship and protection.

He has been a comfort to his mother and best friend over the last 29 years. And from the
age of 5, he has always been a stimulating communicator with adults and peers alike. At the age
of four, his mother led him to Christ after he had asked how to become a Christian. In the last 8
years, he has been raising and training Australian Shepherds, all of whom have been his constant
companions and friends.

At the time, we are more than happy to provide a place for him to stay at our farm here in
Dallas. Philip has always been a great student and homeschooler, taking both his studies, and
career seriously. He has challenged his brothers to do better, and he has been their role model.
He spent time with his younger sisters, even paying them to clean his house or taking them on
big brother dates.

Philip takes his responsibilities for his mother, his siblings, his friends, and his clients
with deep respect. He knows and understands what life is about for him and for those he cares
about.

I love my son and hope the very best for him as he has been there for those he cares
about. So as his father, I am there for Philip.

Respectfully,

/s/ Gary R. Archibald
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Honorable Rebecca Rutherford Benjamin Archibald
United States Magistrate Judge 5895S Mountain Top Place
1100 Commerce Street Cumming, GA 30041
Dallas, TX 75242 June 06", 2020

Re: United States v. Philip Archibald

Dear Magistrate Judge Rutherford:

‘tam Philip’s younger brother and one of his very good friends. Growing up, Philip and | spent a lot of

time together. From recording our own Star Wars movies and building computers to working out and
talking about life together, | consider him my best and most trustworthy friend and family member. |
don’t have many friends to rely on, and Philip has always been there as someone to talk to and vent
about my problems too. He has been a comforting ear and has always given me a hand up when | need
it. Being the eldest sibling of 8 kids, he has also been a wonderful older brother and loves to spoil my
little sisters with Sonic dates or trips to Six Flags. Often, he will go out and splurge on delicious steak and
cook up a phenomenal meal for my family on a Sunday afternoon. He has always been a generous and
kind person, putting his effort and love into helping others live a healthier and happier life. Philip has
been an enormous part of my life, helping to mold me and shape me into the man | am today.

1am aware of the trouble Philip is in, albeit, not to the full extent. | love my brother, and he will always
have a place in my home for as long as he needs. | am also able to provide him with a job if necessary.
There is not anything that is to much for him to ask of me that | will not do my very best to do for him.

| joined the military in 2016 and having completed the RASP program, | served the rest of my enlistment
in the 75" Ranger Regiment, having only recently been honorably discharged. The regiment is a very
stressful environment, both physically, mentally, and emotionally, as anyone who has served in any
special! operations units can attest to. During my time there, Philip was a strong emotional rock that |

was able to lean on whenever | needed to. After my break-up with my then-fianceé, Philip pulled me out
of a pit of despair and depression. He encouraged me to go out and do life again at a time when that

was the last thing | wanted. He also encouraged me to stop drinking alcohol and diet healthier and,
consequently, my mental health improved. Over my time in the regiment, | developed severe anxiety,
partly from the environment. It was bad, and whenever it was, Philip was there every time to listen and
be encouraging and supportive. He has always supported my passions when no one else would and has
been the one | have looked up to as a role model. In his business pursuit, Philip has inspired me to work
harder and stay determined, despite failure, to achieve my goals. He has pushed past every roadblock to
grow his online training business and has been a huge encouragement to myself and his clients. | have
the utmost respect for my older brother, and t will be right there next to him as his support as he was
mine.

Respectfully,

/s/Benjamin Archibald
